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                          UNITED STATES COURT OF APPEALS
                              FOR THE TENTH CIRCUIT
                               OFFICE OF THE CLERK
                               Byron White United States Courthouse
                                        1823 Stout Street
                                     Denver, Colorado 80257
                                         (303) 844-3157
 Christopher M. Wolpert                                                           Jane K. Castro
 Clerk of Court                        March 13, 2020                         Chief Deputy Clerk




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 Mr. Joseph M. Rebein
 Shook, Hardy & Bacon
 2555 Grand Boulevard
 Kansas City, MO 64108
 RE:       20-603, Pfizer, Inc., et al v. All Plaintiffs
           Dist/Ag docket: 2:17-MD-02785-DDC-TJJ

 Dear Counsel:

 Your petition for permission to appeal pursuant to Fed. R. Civ. P. 23(f) and Fed. R. App.
 P. 5, has been filed today. Please note your case number above. You will be notified of
 the court's action on this petition and advised of any further requirements. Any answer to
       Case 2:17-md-02785-DDC-TJJ Document 2035 Filed 03/13/20 Page 2 of 2
Appellate Case: 20-603      Document: 010110319208          Date Filed: 03/12/2020      Page: 2
 the petition shall be filed with the court within 10 days after the petition is served. See
 Fed. R. App. P. 5(b)(2).

 Please contact this office if you have questions.

                                              Sincerely,



                                              Christopher M. Wolpert
                                              Clerk of the Court



 cc:       Ryan C. Hudson




 CMW/djd




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